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                       THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


KARL KREIG,

                      Plaintiff,
       V.                                                  3:CV-21-0074
                                                           (JUDGE MARIANI)
WALMART STORES, INC.,

                      Defendant,


                                             ORDER

       IT IS HEREBY ORDERED THAT:
       1. A Case Management Conference will be conducted by the Court on March 3,
2021 at 11 :20 a.m. In the interest of economy, the Court prefers to hold these conferences
by telephone. The telephone conference call is the responsibility of the plaintiff(s). At least
five days prior to the Case Management Conference, counsel for the plaintiff(s) shall
provide the court, via e-filing, a call-in number which the court and counsel for all
parties of record may call to connect to the conference call.
       2. The purpose of this Case Management Conference is to discuss all aspects of
this case, including any pending motions, as well as a schedule for (a) the completion of
discovery, (b) amendment of pleadings, (c) joinder of parties, (d) filing of motions, (e)
counsel's compliance with the disclosure requirements of Rule 7.1 of the Federal Rules of
Civil Procedure; and (D trial. Presently, joinder of third-party defendants is governed by
Local Rules 14.1 and 14.2; amendment of pleadings and supplemental pleadings by
Fed.R.Civ.P. 15; the filing of pretrial motions by Local Rule 7.1; and the closing of discovery
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by Local Rule 26.4. Unless modified at the Case Management Conference, these rules will
continue to apply. The subjects for consideration at the Case Management Conference will
also include those matters set forth in Fed.R.Civ.P. 16(b) and (c), in addition to the
following:
       (a) Whether, during discovery, the parties will exchange documents in digital format;
whether there are any issues as to the format to be used, including whether meta data will
be requested, and whether there are any issues as to the alteration of documents that may
routinely occur when paper documents are converted to digital format.
       (b) Whether the parties contemplate the use of any photographs in digital format and
whether there are any issues as to how and when digital alteration of photos is to be
disclosed.
       (c) Whether the parties plan to create and exchange video in digital format, as
well as the arrangements for the synchronization of the audio and video of any videotaped
depositions in digital format that may be shown at trial.
       (d) Whether there are any issues as to the discovery of digital materials other
than those identified in subparagraphs (a) through (c) above (such as database), and
whether the parties have agreed on ground rules for the routine business practices that
affect the retention of these digital materials.
       3. It is required that, prior to the Case Management Conference, the parties, at a
minimum, will have complied with the disclosure requirements of Fed.R.Civ.P. 26(a) so that
a reasonable discussion of the merits may take place during the Case Management
Conference, as necessary.
       4. In accordance with Fed.R.Civ.P. 26(D and Local Rule 16.3, lead counsel for each
party shall, as soon as practicable and in any event at least five (5) days prior to the Case
Management Conference, meet and discuss in good faith the matters set forth on the Joint

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Case Management Plan, a copy of which is included in the Local Rules of Court and may be
obtained from the Clerk's Office. The completed Joint Case Management Plan must be
filed at least five (5) days prior to the Case Management Conference. Sanctions may be
imposed if a party or a party's attorney fails to participate in good faith in the conference
required by Fed.R.Civ.P. 26(D and Local Rule 16.3(a). See e.g., Fed.R.Civ.P. 37(g)
       5. If the parties agree to refer this matter to a Magistrate Judge for pretrial and trial
purposes, they should notify the Court in writing no later than three (3) days before the
scheduled Case Management Conference, and the conference will be cancelled. The case
will then be referred to a Magistrate Judge who will re-schedule the Case Management
Conference.
       6. In accordance with Fed.R.Civ.P. 16(c) and Local Rule 16.2, at least one of the
attorneys for each party participating in the Case Management Conference shall be familiar
with the case; shall have authority to enter into stipulations and to make admissions
regarding all matters that the parties reasonably anticipate may be discussed; and shall
have complete settlement authority. If an attorney does not have complete settlement
authority, the party or person with full settlement authority shall be available by telephone.
Counsel is responsible for notifying the person with settlement authority of the requirements
of Local Rule 16.2, as well as the date of the Case Management Conference.
       7. It is the affirmative duty of both counsel and the Court to avoid undue cost or delay
in litigation. Counsel should be familiar with the Expense and Delay Reduction Plan adopted
by the United States District Court for the Middle District of Pennsylvania, and are expected
to comport themselves in a manner intended to secure the just, speedy and inexpensive
determination of this action.
       8. The Court has implemented an "Electronic Case Filing (ECF)" system. This
system enables counsel to file and docket pleadings, motions, briefs, etc. directly from their

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offices via the internet. Information on the Court's ECF system can be obtained at the
Court's website, www.pamd.uscourts.gov. Counsel are directed to familiarize themselves
with the Court's ECF system. Effective September 3, 2003, counsel may be required to
show cause why they should not be required to file documents through the ECF system.
Use of the system may be discussed at the Case Management Conference.


       9. Please note that the preferred way of submitting correspondence to this Court is to
file all correspondence through the Electronic Case Filing System.




Date: February 17, 2021




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